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                         IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,
                                                      NOTICE OF INTERLOCUTORY APPEAL
   Plaintiff,

  v.                                                             Case No. 2:17-CR-037

  CLAUD R. KOERBER,

   Defendant.



       Defendant, Claud R. Koerber, pursuant to Rule 4(b) of the Federal Rules of Appellate

Procedure, hereby gives notice of his appeal to the United States Court of Appeals for the Tenth

Circuit. Mr. Koerber asks for interlocutory review of the district court’s denial of his motion to

dismiss indictment as time-barred for violation of the statutes of limitations in his case and his

request to enjoin prosecution of his case. (Docket Number 376.) The district court denied the

motion during a hearing on May 7, 2018. This Court’s jurisdiction over this interlocutory appeal

rests both in 18 U.S.C. § 1291 and the collateral order doctrine articulated in Cohen v. Beneficial

Industrial Loan Corp., 337 U.S. 541, 545-47, 69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949), as

well as 18 U.S.C. § 1292(a)(1).


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RESPECTFULLY SUBMITTED this 21st day of May, 2018.


                                     /s/ Kathryn Nester
                                    Federal Public Defender




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